1. No exception was taken in sufficient time to raise any question of error in the judgment granting an interlocutory injunction.
2. In contempt proceedings to punish one for violating the terms of a restraining order, issued by a court having jurisdiction of the person and subject-matter, the validity of the court's action in originally granting the restraining order can not be collaterally attacked. Such an order is binding upon the party restrained until reversed, set aside, or modified.
3. In contempt proceedings for a violation of the terms of a restraining order which is predicated on a petition for injunction, persons not made parties to the original petition, and not shown to have had actual knowledge of the restraining order, are not subject to attachment for contempt for a violation of its terms.
(a) But where a restraining order is issued, persons who have actual knowledge thereof, though not parties to the petition for injunction upon which the restraining order was issued, are subject to attachment for contempt for a violation of its terms.
4. Whether a contempt of court has been committed in the violation of a restraining order is a question for the court that issued the order, and this court has no power to disturb the judgment of the trial judge unless there has been an abuse of his discretion.
                       No. 15576. OCTOBER 8, 1946.
This case comes to this court upon an assignment of error on a judgment holding the plaintiffs in error in contempt of court; the contempt proceedings emanating from a violation of the terms of a temporary restraining order issued upon a petition of an employer during a strike by some of its employees.
On April 26, 1946, Crompton-Highland Mills Inc., filed a petition against the Textile Workers Union of America, W. F. Barker, and 18 named individuals, and, in substance, alleged: That a strike *Page 334 
of a part of their employees was in progress, and other employees who wanted to work were being prevented from so doing by the acts of those out on a strike; that approximately 200 employees had refused to strike, and that the defendants have been and are now engaged in picketing the plant and are using threats, force, and intimidation to prevent employees who desire to work from entering said plant and performing their occupation. The petition alleged specific instances of pickets coming upon the property of the mill and preventing employees from entering its gates. The prayers of the petition were that the "defendants and all persons acting in co-operation with them and subject to their direction or control be restrained and enjoined: (1) `from using and from attempting or threatening to use force or violence for the purpose of preventing any person or vehicle from entering or leaving the premises;' (2) `from blockading any entrance to the premises . . and from maintaining mass picketing at any entrance on the premises;' (3) `from loitering or being unnecessarily in the vicinity of the points or places of ingress or egress of petitioner's premises;' (4) `from having, in front of, or in close proximity to, any of the entrances of petitioner's premises . . more than ____ pickets at any one time, that such pickets be in motion and spaced not less than ten feet apart in a single line so as not to block any of the entrances;' (5) `from maintaining a picket line or picketing on private property of petitioner;' (6) `from using any abusive or intimidating language . . to any persons voluntarily entering petitioner's premises;' (7) `for process.'"
The court passed an order that the petition be filed, that a copy of the petition and order be served upon the defendants, and that they show cause on May 11 why the prayers should not be granted. On the same date the petition was filed, the court issued the following order: "That said defendants and each of them and all persons acting in conjunction with or in aid of said defendants be and they are hereby restrained and enjoined: 1. From using and from attempting or threatening to use force or violence for the purpose of preventing any person or vehicle from entering or leaving the premises [of the petitioner]. 2. From blocking any entrance to the premises [of the petitioner], and from maintaining mass picketing at any entrance on the premises. . . 3. From loitering or being unnecessarily in the vicinity of the points or places of ingress and *Page 335 
egress of the petitioner's premises; . . 4. From having, in front of, or in close proximity to, and of the entrances of petitioner's premises . . more than 50 pickets at any one time; that such pickets be in motion and spaced not less than ten feet apart in a single line so as not to block any of the said entrances for ingress and egress on foot or by vehicle of any person or persons desiring to enter or leave petitioner's premises or to deliver goods thereto or dispatch goods therefrom. 5. From maintaining a picket line or picketing on private property owned by [the petitioner], and it is further ordered and directed that all picketing take place on the public highways adjacent to the property. . . 6. From using abusive or intimidating language such as the word scab to or in reference to any persons voluntarily entering petitioner's premises."
On May 3 the defendants filed an answer denying the material allegations in the petition.
On May 1, before the defendants filed their answer, the plaintiff filed a petition praying for an attachment for contempt of court against the defendants and ten others, not named parties defendant in the original petition, who they allege were acting in conjunction with, and in aid of the defendants, alleging a violation of the terms of the restraining order and setting forth certain specific acts in detail. Upon this petition the court on May 1 issued a rule nisi to each of the above mentioned parties to show cause on May 3 why they should not be adjudged in contempt of court. The record is silent as to what date a first hearing was held, or what disposition was made of the contempt proceedings as against the Union and W. F. Barker. On May 11 the court passed an order continuing the temporary restraining order in force.
On May 17 the court heard the contempt proceedings against those who had been served with the rule nisi, dismissing the proceedings as to some, but held the thirteen persons who are now plaintiffs in error to be in contempt of court, and sentenced some to pay fines of $100 and serve 10 days in jail, and others to pay fines of $50 and 5 days in jail. To this judgment error is assigned "as being contrary to law and the evidence in the case, and . . that the said judge then and there should have refused to find said defendants in contempt of court."
1. No exceptions were taken to the original petition or to the interlocutory injunction. The petition was filed and the restraining order granted on April 26. By interlocutory injunction dated May 11, the restraining order was continued in force. The bill of exceptions was presented to the trial judge June 6. Accordingly, the bill of exceptions was not presented in time to raise the question as to the validity of the petition or as to the interlocutory injunction. Code, § 6-903; Sweat Mattox v. Georgia Naval Stores Co., 129 Ga. 571
(59 S.E. 273); Wilson v. Trustees of Union c. Seminary, 181 Ga. 755
(2) (184 S.E. 290).
2. The plaintiffs in error in their brief contend that the restraining order, under which they were held in contempt, was void and unenforceable in certain respects. In Dunn v.Harris, 144 Ga. 157, 160 (86 S.E. 556), it was said: "The power of the superior court to prevent disobedience of its injunctions is an important one. A temporary restraining order granted, to remain of force until the hearing of the application for an interlocutory injunction, has all the force of an injunction until rescinded or modified by the court. [Code, § 55-201.] If the court has jurisdiction, of the person and subject-matter, and grants an injunction, the person enjoined can not justify a violation of it on the ground that it was erroneously or improvidently granted. A motion to have the injunction revoked or modified, or a writ of error (in a case where such writ may be had), is the remedy, if a party enjoined thinks that the injunctive order was erroneously granted." Again in Russell v. Mohr-Weil Lumber Co., 102 Ga. 563 (1) (29 S.E. 271), it was said: "Upon the hearing of an attachment proceeding instituted for the purpose of punishing one who is alleged to have violated a restraining order granted by a court having competent jurisdiction of the person and subject-matter, but in the grant of which, it proceeded erroneously, the validity of the court's action in originally granting such restraining order can not be collaterally called in question. Such an order is binding upon the party restrained, until reversed, set aside, or modified by the court granting it, and a disobedience of the direction expressed in such order affords ground for an attachment as for a contempt."
3. Of the thirteen parties who are the plaintiffs in error, it is asserted by their attorney in his brief that the judgment against *Page 337 
five of them is erroneous for the reason that they were not made parties defendant in the original petition for injunction, and therefore were not bound by the terms of the restraining order. It is insisted that serving the Textile Workers Union of America with the original petition for injunction, and restraining order did not make these five persons parties thereto, even though they were members of this union, because there was nothing to show that it was anything other than an unincorporated voluntary association, and therefore not a legal entity subject to suit.
There is nothing in the name to import a corporation of a partnership, or any allegation declaring the status of this party defendant. Smith v. Commissioners of Roads and Revenue ofGlynn County, 198 Ga. 322 (1) (31 S.E.2d 648). Under the ruling in Walker v. Grand International Brotherhood ofLocomotive Engineers, 186 Ga. 811 (1) (199 S.E. 146) merely naming this union as a defendant and serving one of its representatives, did not thereby make these five parties defendants to the original petition and restraining order, even if they were members of this union. But if they had actual knowledge of the restraining order, they were subject to attachment for contempt for a violation of its terms. Carson v.Ennis, 146 Ga. 726 (92 S.E. 221, L.R.A. 1917E, 650);Tamlin v. Rome Stove  Range Co., 183 Ga. 183
(187 S.E. 879); Patten v. Miller, 190 Ga. 152 (7) (8 S.E.2d 786). Each of these five plaintiffs in error was served with a rule nisi for contempt. There is nothing in the record to show that Wilbur Smith, or Rosella Short had any knowledge of the terms of the restraining order, and therefore they were not in contempt of court. As to Nellie Kent, Elizabeth Williams, and Louise Freeman, each admitted, when on the witness stand, actual knowledge of the restraining order, and as to them, there was sufficient evidence to authorize the trial judge to find that they had violated its terms, and to hold them in contempt.
4. As to the other eight plaintiffs in error — Hozy Corley, M. L. Crawley, Hiram Giddens, Forest Cobb, W. J. Riley, W. A. Singleton, Joseph Bunn, and Luther C. Califf — each was a party defendant to the original petition for injunction, was served in person both with the petition, restraining order, and the subsequent rule nisi for contempt. There was evidence as to all of these eight plaintiffs in error, with the exception of Joseph Bunn, sufficient to *Page 338 
authorize the trial judge to find that they had violated the terms of the restraining order and to hold them in contempt. As to Bunn, the record discloses no evidence sufficient to show that he violated the terms of the restraining order.
"Whether a contempt of court has been committed in the violation of an injunctive order, and how it shall be treated, are questions for the discretion and judgment of the court that issued the order, and its decision will not be interfered with by this court unless there is an abuse of discretion. If there be any evidence from which the judge could have concluded that his order had been violated, this court, under the above rule, has no power to disturb his judgment." Patten v. Miller, 190 Ga. 152
(5) (supra).
In accordance with the foregoing rulings, the judgment is affirmed as to Nellie Kent, Elizabeth Williams, Louise Freeman, Hozy Corley, M. L. Crawley, Hiram Giddens, Forest Cobb, W. J. Riley, W. A. Singleton, and Luther C. Califf; and reversed as to Wilbur Smith, Rosella Short, and Joseph Bunn.
Judgment affirmed in part, and reversed in part. All theJustices concur.